                Case 01-01139-AMC                 Doc 18843-2           Filed 06/02/08          Page 1 of 28




                             IN THE UNITED STATES BANUPTCY COURT

                                      FOR THE DISTRICT OF DELAWAR

In re:                                                      )         Chapter 11
                                                            )
W. R. GRACE & CO., et aI.,1                                 )         Case No. 01-1139 (JKF)
                                                            )         Jointly Administered
                               Debtors.                     )



FEE DETAIL FOR LATHAM & WATKINS LLP'S QUARTERLY FEE APPLICATION
  FOR THE PERIOD FROM OCTOBER 1.2007 THROUGH DECEMBER 31.2007




¡ The Debtors consist of   the following 62 entities: W. R. Grace & Co. (f/a Grace Specialty Chemicals, Inc.), W. R. Grace &
Co.-Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (f/a
Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food 'N Fun Company, Darex Puerto Rico,
Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston
Ltd., G C Limited Parers I, Inc. (f/a Grace Cocoa Limited Parers I, Inc.), G C Management, Inc. (f/a Grace Cocoa
Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of      Cuba, Grace Culinary Systems, Inc., Grace
Driling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II
Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Taron Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (f/a GHSC Holding, Inc., Grace NH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f/a Nestor-BNA Holdings
Corporation), MRA Intermedco, Inc. (f/a Nestor-BNA, Inc.), MRA Staffng Systems, Inc. (f/a British Nursing Association,
Inc.), Remedium Group, Inc. (f/a Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Parters (f/a Cross
Countr Staffng), Hayden-Gulch West Coal Company, H-G Coal Company.


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                                                                -1-
DOCS_DE:137817.1
     Case 01-01139-AMC                             Doc 18843-2              Filed 06/02/08              Page 2 of 28




                                IN THE UNITED STATES BANKUPTCY COURT

                                          FOR THE DISTRICT OF DELA WAR

In re:                                                          )       Chapter 11
                                                                )
W. R. GRACE & CO., ~ &,1                                        )       Case No. 01-1139 (JKF)
                                                                )       Jointly Administered
                                  Debtors.                      )
                                                                              Objection DeaiJlíne: March i 7,2008 at 4:00 p.m.
                                                                                         Hearing Date: TBD only if necessary


           NO ORDER REQUIRED CERTIFICATION OF NO OB.JECTION
         REGARING APPLICATION OF LATHAM & WATKINS LLP FOR
     COMPENSATION FOR SERVICES AND REIMBURSEMENT OF EXPENSES AS
     SPECIAL TAX COUNSEL TO W. R. GRACE & CO., ET AL., FOR THE PERIOD
     FROM OCTOBER 1, 2007, THROUGH OCTOBER 31,2007 (DOCKJn NO. 13115)

                        The undersigned hereby certifies that, as of           the date hereof, he has received no

answer, objection or other responsive pleading to the Application of Latham & Watkins LLP

("L& W") for Compensation for Services and Reimbursement of Expenses as Special Tax

Counsel to W R. Grace & Co., et al.,jor the Periodfrom October 1, 2007 tlirough October 31,

2007, (the "Application"). The undersigned fuher certifies that he has caused the Court's

docket in this case to be reviewed and no answer, objection or other responsive pleading to the

Application appears thereon. Pursuant to the Application, objections to the Application were to

be filed and served no later than March 17,2008.
i The Debtors consist of thc following 62 entities: W. R. Grace & Co. (tia Grace Specialty Chemicals, Inc.), W. R. Grace &
Co..Conn., A-I Bit & Tool Co.,       Inc., Alewife Boslon Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (tia
Circe Biomedical, Inc.), CCHP, rnc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food 'N Fun Company, Darex Puerto Rico,
Inc., Del Taco Restaurants, Inc., Dcwey and Almy, LLC (fla Dewey and Almy Company), Ecag, Inc., Five Alewife Boston
Ltd., 0 C Limited Parters I, Inc. (tia Grace Cocoa Limited Parters I, Inc.), G C Management, rnc. (tia Grace Cocoa
Managcment, Inc.), GEC Management Corporation, ON Holdings, Inc., GPC Thomaville Corp., Glouccster New Communities
Company, Inc., Grace A-B Inc., Grace A.B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace
Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II
Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (Uk/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corpration, Grace Petroleum Libya Incorprated, Grace Tarpon Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gricoal, Inc., Gracoal II, Inc.,
Guanica-Caribe Land Development Corpration, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (flk/a GHSC Holding, Inc., Grace NH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorprated, Monroc Strect, Inc., MRA Holdings Corp. (tia Nestor-BNA Holdings
Corporation), MRA Intermedco, Inc. (fla Nestor-BNA, Inc.), MRA Staffng Systems, Inc. (tia British Nursing Association,
Inc.), Remedium Group, Inc. (tlkla Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cumng,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corpration, Axial Basin Ranch Company, CC Parers (tia Cross
Country Staffng), Hayden-Gulch West Coal Company, H-O Coal Company.


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                     Pursuant to the Administrative Order Under 11 U.S.c. §§ 1 05(a) and 331


 Establishing Procedures for Interim Compensation and Reimbursement of                      Expenses for

 Professionals and Offcial Committee Members (the "Order") dated May 3,2001, the Debtors

 are authorized to pay L& W $9,121.60 which represents 80% of                    the fees ($ I 1,402.00), and $0.00

 which represents 100% of the expenses requested in the Application for the period October 1,

 2007 through Oetober 31,2007, upon the filing of                   this Certification and without the need for

 entiy of a Court order approving the Application.



 Dated: March 18, 2008                               KIAND & ELLIS LLP
                                                     David M. Bernick P.C.
                                                     Janet S. Baer
                                                     200 East Randolph Drive
                                                     Chicago, Ilinois 60601
                                                    Telephone: (312) 861-2000
                                                    Facsimile: (312) 861-2200

                                                    and

                                                    P ACHU7 STANG CEJ-L: JONE LLP


                                                                    \rv /V _
                                                    Laura Davis Jones (Bar No. 2436)
                                                    James E. 0' Neill (Bar No. 4042)
                                                    Timothy P. Cairns (Bar No. 4228)
                                                    919 North Market Street, i ih Floor
                                                    P.O. Box 8705
                                                    Wilmington, Delaware 19899-8705 (Courier 1980 i)
                                                    Telephone: (302) 652-4100
                                                    Facsimile: (302) 652-4400

                                                    Co-Counsel to Debtors and Debtors-in-Possession




DOCS_DE:122683.15                                               2
 Case 01-01139-AMC                             Doc 18843-2                   Filed 06/02/08                  Page 4 of 28




                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRlCT OF DELA WAR

 In re:                                                                 ) Chapter 11
                                                                        )
 W. R. GRACE & CO., et al., i                                           ) Case No. 01-01139 (JK)
                                                                        ) (Jointly Adnistered)
                                                                        )
                               Debtors.                                 ) Objection Deadline: YV 1 l, 2008,
                                                                             at -i:OO p.m. (prevailing eastern tie)


                  SUMMRY APPLICATION OF LATHA & WATKINS LLP FOR
      COMPENSA nON FOR SERVICES AND REIMBURSEMENT OF EXPENSES AS
         SPECIAL TAX COUNSEL TO W. R. GRACE & CO., ET AL., FOR THE
          PERIOD FROM OCTOBER 1. 2007, THROUGH OCTOBER 31. 2007

Name of Applicant:                                                          Latham & Watkis LLP ("L&W")

Authorized to Provide Profesional Services to:                              w. R. Grace & Co., et at, Debtors and
                                                                            Debtorsin Possession

Date of Retention:                                                          Retention Order entered June 16,2004.
                                                                            effective nunc pro tunc from April 1, 2001,
                                                                            Order Autborizint!. Expansion entered
                                                                            March 27, 2006,

Period for which compensation and reimbursement                             October 1, 2007 throuf!h October 31,2007
is sought:

Amount of Compensation sought as actul,                                     S11.402.00
reasonable and necessar:

Amount of Expense Reimbursement sought                                      (so.OO)
as actul, reasonable and necess:

This is a(n) lmonthy, _ interim, _final application.


'The debiors coist oflh following 62 entitis: W. R. Gr= & Co. (Wa Graa: Specialty Chemical, Inc.J, W. R. Grac & Co.-Cnn., A-I Bit
& Tool eo.. Inc.. Alewife Boston Lrd.. Alwife Lmd Coirnon. Amicon, Inc., CB Biomcdical, Inc. (W. Circe Biomedical, Inc.J, eeHP, Inc..
Coalgraci; Inc., Coalgraa: 11, Inc., Crvc Foo .N Fun Company, Darex l\rto Rico, In., Del Tar Restaants, Inc.,anDewey
                                                                                                                 Almy, LLC
(Wa Dewey and Almy Coany). Ecarg. Inc.. Five Alwife Boston Ltd., G C Limited Parer. I. Inc. (Wa Grace Coc Limited Par I,
Ine.J, G C MBiageni~ Inc. (Wa Grac Coca Managemcn~ Inc.). GEe Maagement Corpraton, ON Holdings. Inc.. GPC Thomavile
eoq., Gloucester new Communitie Company, In.c., Grace A-B Inc., Grace A-B II Inc.. Grac Checa Compy of Cuba Grace Culin
Systems, rnc., Grx Driling CoPUlY, Grace Lnergy Coration, Grae Environmenla, Inc., Grace Europe. Inc., Gra H-G Inc., Gra H-G
II Inc.. Graa: Hotd Servce Corpraton, Grac Inlemaio Holdings. Inc. (Wa Deim Inteation Holdings. I"c.), Grace Ofhore
Company. Graa: PAR Corporaton, Oraa: Pctrolewn Libya Incorpratd, Grace Tarn Investors, Inc., Grac Venres Co.. Oraa:
Wasing1on. Inc.. W. R. Gr Ciiila CoirBlon, W. R. Graa: Land Corration, Grac, loc., Gracoal 11, lnc.. Guanica-Canli La
Development Coraton, Hanver Squar Coiraon, Horno International, Inc.. Koonteai Development Company, L B Realty. Inc.,
Litigation Managemen~ Inc. (f)a GHSC Holding. Inc.. Grace JVH, Inc., Asstos Managemen~ loc.), Monolith Enterpries, Incoporated,
Monoe Street, Inc., MRA Holdings Cor. (Wa Nestor-8NA Holdings Corpratio), MR Interrdco, Inc. (Wa Nestor-BNA, Inc.), MRA
Staffng Systems. Inc. (Wa British Nursing Asociation, Inc.), Remedium Group, Inc. (W. Environmenial Liability Management loc., E&C
Liquidating Corp.. Emrson &. Cuming, Inc.), Southern Oil. Resin & Fiberglass. Inc., Water Stret Corpration. Axial Basin Ran Company,
CC Parers (Wa Clos Countr Stang), Hayden-Gulch West Coal Copany, H-G Coal Company.


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           The total time expended for the preparation of ths application is approxitely i hours,


and the corresponding estimated compensation that will be requested in a future application is

approximately $400.00.



           This is the first monthly application for interi compenstion of services for the October-

December 2007 quarer that Latham & Watkins LLP has filed with the Banptcy COll1 in the


Chapter i i Cases. The following applications have been filed previously in the Chapter 11


Cases:


                                                  Requested            Requeste                                Approved
    Dale Filed           leriod Covered                                                Approved Fees
                                                     Fees               Expenses                                Expense.t
On or abo             Decemlir     2003      - $211,719.00         $6,927.50         All fees approved     $6,897.50
Aue.ust 9, 2004       June 2004                                                                            approved
On or abot Augus      July i, 2004 - July       $ i 1,334.50       $201.2            All fees approved     All expens
25 2004               31,200                                                                               aioroved
On or about           August t, 200 -           $81,729.50         $5,199.44         All fee approved      All expnss
Ociober 25. 200       A ugusl 3 I, 2004 an                                                                 approved
                      Sepember I, 200 ..
                      Septembe 30, 200
On or abt             October I, 2004 -         S45,050.00         $1,825.59         AU fee approved       All expenss
Novembe 25 2004       October 30 2004                                                                      approved
On or about           Novembe I, 200 .          $31,913.50         SI,50.91          All fees approved     All expenses
Decembe 25 200        November 30 2004                                                                     apl)oved
On or about           December I, 2004 -        $26,J775O          $1,282.35         All fees approved     AU expenss
J anuar 25 2005       December 3 i. 2004                                                                   approved
On or about           July 1,2004-              $93,064.00         $5,400.76         All fee approved      All expenses
F ebni 4, 2005        September 30, 2004                                                                   approved
On or abot            Janua I, 2005 -           $23,485.50         $3,14.93          All fees approved     All expenss
F ebiu 25 2005        January 3 i 2005                                                                     aoproved
On or abot March      Februai 1.2005-           $22,065.00         $628.0 i          All fces approved     All expees
25, 2005              Febr 28, 2005                                                                        approved
On or abt May         October i, 2004 -         $103.141.00        $4.617.85         All fees approved     All expenses
19,2005               Decembe 31, 2004                                                                     aonroved
On or abt May         March I, 2005 -           $39,952.00         $160.88           All fees approved     All expenss
24, 2005              March 31, 2005                                                                       aporoved
On or abut May Januai I, 2005-                  $85,502.50         SI,103.82         All fees approved     All expenses
24, 2005              March 3 I, 2005                                                                      approved
On or about May       April I, 2005 - April     $33,385.50         S593.50           All fees approved     All expenses
26, 2005              30, 2005                                                                             anproved
On or about July 8,   May 1, 2005 - May         $15,799.50         $956.63           All fees approved     All expenss
2005                  31,2005                                                                             approved
On or abut August     June 1,2005 - June        $3,343.00          $332.11           All fees approved    All expenss
9, 2005               30, 2005                                                                            approved
On or about August    April i, 2005 - June      $52,528.00         $1,882.24         All fees approved    All expenss
9,2005                30, 2005                                                                            apl)oved
On or about           July 1,2005 - July        .$1,392.00         $8.93             All fees approved    All expenses
Sepiember 19 2005     3 I 2005                                                                            anNoved
                                                               2
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Case 01-01139-AMC                               Doc 18843-2                   Filed 06/02/08                  Page 6 of 28




On or about             August I, 2005 -         $698.50             $39.03                 All f~s approved      All expenses
October 10, 2005        Augus131 2005                                                                             approved
On or about             September 1,2005-        $736.50             $5.32                  All fees approved     All expenss
Octobe 26. 2005         September 30 2005                                                                         approved
On or about             July 1,2005-             $2,827.00           $53.28                 All fees approved     All expenses
October 26 2005         SeDlember 30 2005                                                                         approved
On or about             Octobe 1, 2005 -         $689.00             $9.34                  All fees approved     All expenses
December 28 2005        October 3 I, 2005                                                                         approved
On or about             November 1,2005-         S73.50              $6.45                  All fees approved     All expenses
Januar 13, 2006         November 30 2005                                                                          approved
On or about             Jun I, 2006 - June       S 16,407.50         $0.00                  All fees approved     All expenses
October 20. 2006        30 200                                                                                    approved
On or abot              July I, 20-July          $16,12250           $35.61                 All fees approved     All expenss
October 20, 2006        31,200                                                                                    approved
On or about             Augtt i, 200-            S13,3 1 7.50       $6.18                   All fees approved     All expenses
October 20 2006         August 31 200                                                                             approved
On or about             Seember I, 200 -         $3,347.00          $4.79                   All fees approved     All expenses
October 20, 2006        Septebe 31, 200                                                                           approved
On or about             October I, 2006-         $2,57\.00          $4.34                   All fees approved     All expenses
October 20 2006         Octobe 31 2006                                                                            approved
On or abut              Novembe 1,200-           S2,862.50          $0.00                   All fees .pproved     All expenss
October 20, 2006        Novembe 3D, 2006                                                                          approved
On or abut              Dember I, 200-           $2,332.50          $0.00                   All fees approved     All expenss
March 3D, 2007          December 31, 200                                                                          approved
On or about             Januar I, 2007 -         $2,65 \.00         $0.00                   All fees approved     All expens
March 30 2007           Janua 31 200                                                                              approved
On or abut              F ebrw I, 200 -          $Il,678.oo         $0.00                  All fees approved      All expenses
March 30 2007           Februrv 28 2007                                                                           aPNoved
On or about             March I, 2007 -          $17,766.00         $27.59                  All fees approved    All expes
July J 8 2007           March 31 2007                                                                            approved
On or abut              April I, 200-            SI0,324.50         S93.62                 All fees approved     All expenses
J ulv 18, 2007          April   30, 2007                                                                         approved
On or about             May I, 200 -             S2,IS9.S0          S7.03                  All fee apprved       All expenss
J ulv 18, 2007          May 31, 200                                                                              approved
On or about             June 1,200-              S13,9.oo           S1.86                  Pending               Pending
October 12, 2007        June 3D, 2007
On or about             August I, 2007 -         $1,433.00          SQ. 00                 Pending               Pending
October 12,200          August 31 2007


                                    LATI & WATKINS LLP PROFESSIONALS

     Name of Attorney           Position with    Numbe of                              Hourly        Total         Total
                                the Applicant    Years as an        Department         Bilinll       Biled      Compensation
                                                  Attorney                              Rate         Hours
    Nicholas J. DeNovio             Parer             18                Tax             TIS.DO         12.5           9687.5
         PB Wheeler                Associate           2                Tax             45S.00          3.2           1,456.00
                                                                             Total for Altornev.                   $11143.50


             Name of        Posilion with tbe              Department                  Hourly        Total         Total
     Leiial Assistant          Applicant                                               Biling        Biled      Compensation
                                                                                        Rate         Hours
    Elizeth Arld                 Parlegal                  Banptcy                     235.00          1.10             258.50
                                                                    Total for ùgal AssisÙlnts          1.10            $258.50




                                                                3
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                                       COMPENSATION BY MATTER
                                              -_.
                    Matt~                                                           Total    Total Fees
                                                    Matter
              Number                                                                Hours    Reciue.ted
            042362-000                    Federa Tax General Plaing                 16.8        11.402.00
                                                              Total Com nensation   16.8      S 11,402.00




                     EXPENSE SUMMY FOR FEDERA TAX GENERA PLANNING


    Total                                                                                          W.()
  i D'~,;p';o.                                                                                  ..".1
               WHEREFORE, L&W respectfully requests tht, for the period October i, 2007 though

October 31, 2007, an interi allowance be made to L&W for compensation in the amount of


511,402.00 and payment of $9,121.60 (80% of                  the allowed fees), and for such other and fuer

relief as ths Cour may deem just and proper.


Washington, D.C.                                      Respectfly submitted,
Dated: Febru ~ 2008




                                                      ~/L
                                                      LA TI & WATKS LLP



                                                      Nfcholas J. DeNovio, Esq.
                                                      Latha & Watkins LLP
                                                      555 Eleventh Street, N.W., Suite 1000
                                                      Washigton, D.C. 20004-1304
                                                     Telephone (202) 637-2200




                                                         4
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 Case 01-01139-AMC                                    Doc 18843-2                 Filed 06/02/08               Page 8 of 28




                                       IN THE UNTED STATES BANKRUPTCY COURT
                                            FOR TH DISTRICT OF DELA WAR

 In re:                                                                       ) Chapter II
                                                                              )
 W. R. GRACE & CO., et aI., 2                                                 ) Case No. 01-01139 (JK)
                                                                              ) (Jointly Admiiústered)
                                                                              )
                                         Debtors.                             )




                    FEE DETAI FOR LATHAM & WATKINS LLP'S MONTHLY
                          SPECIA TAX COUNSEL FEE APPLICATION
                 FOR THE PERIOD OCTOBER 1, 2007 THROUGH OCTOBER 31, 2007




i Th debtors cosis of th following 62 entitie: W. R. Ora & Co. (t7a Grace Specialty Clmicas. In.). W. R. Grace & Co..£on.. A-I Bi,
&. Tool Co.. Inc.. Alewife Boston Ltd., Alewife     lad Corpration, Amico", Inc., æ Biomdical, Inc. (WaCir Biodical, Inc.), CCHP.ln.,
Coalgr... Inc.. Coalgrac II, Inc., Creave Food 'N Fun Copany. Oaex Purt Rico. Inc., Del Tac Reurts. Inc., Deey and Almy, LLC
(t7a Dewey and Almy Company). Ecag, Inc., Five Alewife Boston Ltd., 0 C Limited Parrs I, Inc. (t7a Orace Cocoa Limited Parrs i.
Inc.), G C Managcnnt, Inc. (Wa Grace Coc Managemnt. Inc.), GEC Management Corpratio, ON Holdings, Inc., GPC Thvile
Corp.. Glouee new Commiti Company, Inc.. Grace A-B Inc. Orac A-B II Inc., Grace Oiical Company of Cub.. Or.. Culin
System, Inc., Grae Drlling Copany, Gra Energy Corpon. Grac Environment4, loc., Grace Europe. Irn., Gr"" H-G In., Grace H-G
II Inc., Gra Hotel Services Corpraiion. Grac Iniemioal Holdings, Inc. (W. De Inteatioal Holdings, Inc.), Grace Ollre
Company, Grac PAR Corpaton. Grace Petroleum Libya inated, Grace Tarn Investors, Inc., Grac Vennies Corp., Grace
Washington, Inc., W. R. Gi- eapiUl Corpratio, W. R. Grace Lad Coration, Graoa. lne., Graco II, rnc.. Guanica-Caribe Land
Development Coraton Haver Squae Corpn. Homeo IntcmaLional. Inc., Koontm Developmnt Company, L B Real, Inc.,
Litigaion Monagel, Inc. (Wa GHS Holdin!? Inc.. Grace NH. Inc., Asbs Manemt, Inc.), Monolith Enterri. Incorrated,
Monroe Str.el, Inc, MRA Holdigs Cor. (Wa Neslü.BNA Holdings Corpati), MRA lnierco. In.. (Wo Nestor-BNA Inc.), MR
Stang Systems, Inc. (fl. British Nuring Associaton. Inc.), Remedium Group. Inc. (t7a Environmntal Liailty Maagmet, In., E&C
Liquidatng Co., EilSon & Cuming, Inc.). Southern Oil, Resin & Fibeglas. Inc., W.1r Stree Co'lration. Axial Basin Ra Company,
CC Pareo (t7a Doss Countr Stafng), Hoyden-Gulch Wes Coal Company, H-G Coa Company.




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                                                                               555 Elenth Slree!. NW.. sun. 100
                                                                               W&5nglM. D.C. 200()1300
                                                                               Tel '1.202.637.2200 F",: +1.202.637.2201
                                                                               ww.m.cc

LATHAM&WATKI N $LLP


                                                                               T.. idan-i No: 952011\73

     INVOICE
    October 31, 2007


    W.R. GRACE & CO.
                                                                               REMmANCE INSTRUCTIONS
                                                                               I'RE TRNSFERS'
                                                                               Bank: C~ibank. Delaware
                                                                               One Penn's Way
                                                                                                                  ~
                                                                                                                  Latham & Watkins LLP
                                                                                                                  P.O. Bo 724743202
                                                                               New Castl, DE 19720                Phladelia. PA
    540 BROKE SOUND BL YD. NW                                                  ABA: 0311-0209        19170-202
                                                                               SWFT: CITUS33
    BOCA RATON, FL 33487                                                       Accnt Name: La~m & Watlll ll
                                                                               Acnt Numbe 3911-700


                                                                               pi. Idon yo cn "''" 1r.r..y, th r-i ..:
                                                                               Invoic No. 70315966
                                                                               File No. 042362-0000

                                                                               Forqi-i ca:
                                                                               Shar L_ at (202) 3550




    For profesional seices redered though October 31,2007
    re: FEDER TAX GENERA PLAG
                        Attorney/
    Date                Paregal            Hours         Decrption
    10/24/07               NJD              1.40         REVIEW ISSUES WITH REGAR TO
                                                         INTERNATIONAL RESTRUClRING; SECTION 304
                                                         ISSUE
    1 0/24/07              RCA             i.O           RESEACH REGARING FEE APPLICATIONS;
                                                         REVIEW DOCKE AND D1STRlBUTE FEE ORDERS;
                                                         CONFERENCE WITH N. DENOVIO REGARING
                                                         SAM.
    !Ol1/0?                NJD             3.80         CONFRECE CALLS WITH DEBRA POLE AN
                                                        ALLEN GIBBONS REGARING DIFFERNT ISSUE;
                                                        REVIEW AN ANALYSIS OF SECTON 304 AND
                                                        SPEClFICALL Y 304X6) BASIS ADJUSTM;
                                                        AFFECT ON EARINGS AND PROFITS; SECTION
                                                        1248 ISSUE; FOREIGN TAX CREDIT ISSUE
    Ion6/07                NJD             2.4u         REVIW SECTON 304(BX6) ISSUE WITH REGAR
                                                        TO CROSS-BORDER RESTRUCTG OF
                                                        GERMNY, BELGIU AND ITALY; REVIEW
                                                        SECl0N 1248lN CONTT OF SECTION 301(C)3)
                                                        GAIN RECOGNIZED FROM GRACE GERM
    i 0/29/07              NID             1.60         REVIEW AN ANALYSIS OF SECTION 1248 AND
                                                        SECl0N 304 ISSUES




                             BAE DUE AND PAYABLE TO REMITANCE ADDRESS UPON RECEIPT.
                  FOR PROPER CREDIT. PlEE RETRN COpy OF INVOICE WlTl YOUR CHECK IDENTIFIED BY' 70315~56
    DC 1048487.
Case 01-01139-AMC                         Doc 18843-2                 Filed 06/02/08          Page 10 of 28




                      Attorneyl
Date                  Paralegal           Hours         Description
10/30/07                NJD               2.20          CONFERENCE CALL WITH ALAN GIBBONS
                                                        REGARDING SEVERAL ISSUES; SECTION 304,
                                                        SECTION 1248, FOREIGN TAX CREDIT, 901
                                                        REGULATIONS
1013/07                 NJD               1.0           CALL WITH ALAN GffBONS; REVIEW AND
                                                        ANALYSIS OF TECHNICAL TAX ISSUES
10131/07                p'BW              3.20          TELECONFERECE wirn N. DENOVIO .
                                                        REGARDING RESEARæ lSSUE; REEARCH SAM

Attorney Hours:

N J DENOVIO             (PARTNER. Sil )           12.50 Iu (i         $775.00 /h.            $9,687.50
P B WHELER              (ASSOClA TE)               3.20 hrs §         $455.00 /h.            $1,456.00


Paraleiral Hours:

E C ARNOLD


Total Services
                        (pARGAL)                  J.
                                                  16.& hrs
                                                                      $235.00 nu.              $25&.50

                                                                                                         $11,402.00

Oter charges:




Tota curent charges                                                                                      Sl1.402.00

           BALANCE DUE                                                                                   Sll.402.00




                           BANCE DUE AND PAYABLE TO REMmANE ADRESS UPON RECEIPT.
               FOR PROPER CREDIT, PlESE RERN COpy OF INVOICE'MH YOUR CHECK IDENTIFIED BY j 703159&6

                                                             2
00.1048487.2
    Case 01-01139-AMC                          Doc 18843-2             Filed 06/02/08               Page 11 of 28




                               IN THE UNITED STATES BANUPTCY COURT

                                        FOR THE DISTRICT OF DELA WARE

 In re:                                                       )      Chapter i i
                                                              )
 W. R. GRACE & CO., ~ &, I                                    )      Case No. 01-1139 (lKF)
                                                              )      Jointly Administered
                                Debtors.                      )
                                                                            Objection Deadtine: March i 7,2008 at 4:00 p.m.
                                                                                       Hearing Date: TBD only if necessary


          NO ORDER REQUIRED CERTIFICATION OF NO OBJECTION
         REGA1WING APPLICATION OF LATHAlI & W ATKlNS LLP li'OR
    COMPENSATION FOR SERVICES AND REIMBURSEMENT OF EXPENSES AS
    SPECIAL TAX COUNSEL TO W. R. GRACE & CO., ET AL., FOR THE PERIOD
  FROM NOVEMBER 1,2007, THROUGH NOVEMBER 30, 2007 (DOCKET NO. 18116)

                      The undersigned hereby certifies that, as of           the date hereof, he has received no

answer, objection or other responsive pleading to the Application of Latham & Watkins LLP

("L& W") for Compensation for Services and Reimbursement of Expenses as Special Ta;'(

Counsel to w: R. Grace & Co., et aI.,
                                                   for the Periodfrom November 1, 2007 through November
30, 2007, (the "Application"). The undersigned furter certifies that he has caused the Court's

docket in this case to be reviewed and no answer, objection or other responsive pleading to the

Application appears thereon. Pursuant to the Application, objections to the Application were to

be filed and served no later than March i 7, 2008.
i The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/a Grace Specialty Chemicals, Inc.), W. R. Grace &
Co.-Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corpration, Amicon, Inc., CB Biomeical, Inc. (f/a
Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food 'N Fun Company, Darex Puerto Rico,
Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/a Deey and Almy Company), Ecarg, Inc., Five Alewife Boston
Ltd., G C Limited ParUiers I, Inc. (f/a Grace Cocoa Limited Parters i, Inc.), G C Management, Inc. (fla Grace Cocoa
Management, Inc.), GEC Management Corpration, GN Holdings, Inc., GPC Thomaville Corp., Glouccster New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace
Driling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II
Inc., Grace Hotel Services Corpration, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorprated, Grace Tarpn Investors, Inc., Grace Ventures
Corp. Grace Washington, Inc.. W. R. Grace Capital Corporation, W. R. Grace Lad Corporation, Gracoal, Inc., Gracoal II, Inc.,
Guanica-Caribc Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigarion Management, Inc. (f/kla GHSC Holding, 1nc, Grace JVH, Inc., Asbestos
Management, Inc.), Monoliih Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f/a Nestor-aNA Holdings
Corporation), MRA 1ntermedco, Inc. (f/a Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (f/a British Nursing Association,
Inc.), Remedium Group, Inc. (fla Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corpration, Axial Basin Ranch Company, CC Parters (f/a Cross
Country Staffng), Hayden-Gulch West Coal Company, H-G Coal Company.


DOCS_DE: 122683. L6
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                        Pursuant to the Administrative Order Under 11 U.S.c. §§ lO5(a) and 331

Establishing Proeedures for Interim Compensation and Reimbursement of                    Expenses for

Professionals and Official Committee Members (the "Order") dated May 3,2001, the Debtors

are authorized to pay L& W $14,308.40 which represents 80% of                   the fees ($17,885.50), and

$0.00 which represents 100% of the expenses requested in the Application for the period

November 1,2007 through November 30, 2007, upon the filing of                    this Certification and without

the need for entry of a Court order approving the Application.



Dated: March 18,2008                                KILAND & ELLIS LLP
                                                    David M. Bernick P.c.
                                                    Janet S. Baer
                                                    200 East Randolph Drive
                                                    Chicago, Ilinois 60601
                                                    Telephone: (312) 861-2000
                                                    Facsimile: (312) 861-2200

                                                    and

                                                    P ACHULSKl STANG ZIEHL & JONES LLP



                                                                I~ ,.L-
                                                    Laura Davis Jones (Bar No. 2436)
                                                    James E. 0' Neill (Bar No. 4042)
                                                    Timothy P. Cairns (Bar No. 4228)
                                                    919 North Market Street, 17iJ Floor
                                                    P.O. Box 8705
                                                    Wilmington, Delaware 19899-8705 (Courier 19801)
                                                    Telephone: (302) 652-4100
                                                    Facsimile: (302) 652-4400

                                                    Co-Counsel to Debtors and Debtors-In-Possession




DOCS _ DE: i 22683.16                                           2
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                               IN THE UNTED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELA WAR

  In re:                                                                 ) Chapter 11
                                                                         )
  W. R. GRACE & CO., et aJ., i                                           ) Case No. 01-01 139 (lK)
                                                                         ) (Jointly Adminstered)
                                                                         )
                                Debtors.                                 ) O~jFction Deadline: íÏ, 2008,
                                                                              at :1:00 p.m. (prevailing eastern time)

           SUMMARY APPLICATION OF LATHAM & WATKINS LLP FOR
      COMPENSATION FOR SERVICES AND REIMBURSEMENT OF EXPENSES AS
         SPECIAL TAX COUNSEL TO W. R. GRACE & CO., ET AL., FOR THE
         PERIOD FROM NOVEMBER 1.2007. THROUGH NOVEMBER 30.2007

 Name of Applicant:                                                          Latham & Watkis LLP ("L&W")

 Authorized to Provide Professional Services to:                             W. R. Grace & Co.. et aI., Debtors and
                                                                             Debtors-in Possession

 Date of    Retention:                                                       Retention Order entered June 16.2004.
                                                                             effective nunc pro tunc from Aoril 1. 2001.
                                                                             Order Authoriine: Expansion entered
                                                                             March 27.2006,
 Period for wruch compenstion and reimburment                                November 1. 2007 throul!h November 30.2007
 is sought:

Amount of Compensation sought as actul,                                      $17.885.50
reanable and necessa:

Amount of Expense Reimbursement sought                                       ($0.00)
as actul, reasonable and necessa:

Ths is a(n) ..monthy, _ interim, _final application_


, The debt"" ","sisi th
                      offollowing 62 eniiiies: W. R. Grac & Co. CWa Grace Specialty Chicals, Inc.), W. R. Graa: & Co.-Conn., A-I Bit
& Tool Co.. Inc., Alewife Bostn Ltd., Alewife Lad COljain. Amicon, Inc., CB Biomical, III. (lIa Circe Biomedical, Inc.), CCHP, Ir.,
Coalgrac, Inc.. Coalgraa: If, Inc.. Creative Foo 'N FUD Company, Darcx Puer Ric. Inc., Del Tac Restaurants. Ir.. Dewey ßId Almy, LLC
(flla Deey and Almy Company), Eea Inc., Five Alewife BostOf Ltd., G C Limited Par" r, Ine. (Wa Grae Coca Limited Parers i.
Inc.), G C Maiiaemen~ Inc. (lIa Gr= Cocoa Manement Inc.), GEC Managemeni CorraLion, GN Holdings, Inc.. GPC Thomllville
Cor., Gloucester neW Communities Comany, Inc.. Gra"" A-B Inc., Grace A-B If Inc., Gr"" Chemica Company of Cuba. GnK Culinar
Systems, rnc., Grace Driling Company. Grac Energy Corratio Gr."" Environmenta, Inc., Grce Eur, Inc.. Grace H-G Inc., Gra H-G
II Inc., Gr"" Hotel Service Corpation. Graa: International Holdings. Ine. (lIa Dearborn Internaiional Holdings, Inc.). Grae Offhoe
Company. Grace PAR Corpration. Grace Petiolewii Libya Incrated, Grac Tarn Investors, Inc.. Grac Venwre Coi., Grace
Washington. lnc.. W. R. Grac Capill Corpration, W. R. Grac Lad Corpralio. Graco Inc., Gracoal If, Inc., Guaica-Carbe Lnnd
Development Cnoiaion, Hanver Square Corpration. Homc lntcmaioal. Inc., Koontcnai Development Comany. L B Reaty. Inc.,
Liiigat Management, Inc. (1I. GHSC Holding. Inc., Gratt NH, li.. Asbetos Manage,,,!. Inc.). Monolith Enterises, Incorporated.
Monroe Stree~ ,Inc.. MRA Holdin Corp. (Wa NestDr-BNA Holdings Corration), MRA Intenoedco, (nc. (Wa Nesto-BNA. Inc.), MR
Stang System, Inc. CWa British Nursing Association, Inc.). Remdium Group, Inc. (Wa EnvuonmcnUl Liability Management Inc., E&C
Liquidating Cor.. Emersn & Cuming. Inc.). Solhem Oil, Resin & Fibeglas. Inc.. Wafe Stieel Corporaton, Axial Basin Ranch Company.
CC Pii" (W. Cross Coutr Staffn&). Hayden-ulch West Coal Company, H-G Coal Company.


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              The total time expended for the preparation of ths application is approximately i hours,

  and the corresponding estimated compensation ¡hat will be requested in a future application is

  approximately $400.00.



              lliis is the second monthly application for interim compensation of services for the


  October-December 2007 quarer that Latham & Watkins LLP has filed with the Banptcy

 Cour in the Chapter i i Cases. The following applications have been fied previously in the

 Chapter 11 Caes:



      Date Filed                                    Requeoted               Requested                                Approved
                          Period Covered                                                   Approved Fees
                                                      Fees                  Ex~nsei                                  Expenses
  On or about          Decmber 2003          -    $211,719.00        $6,927.50           All fee approved       $6,897.50
 Au,wst 9 2004         June 200                                                                                 aovroved
 On or abut Augus      July J, 200 - July         $11,334.50         $201.32             All fees approved      All expenses
~904                   3 1.204                                                                                  annroved
 On or about           August I, 200 -            $81,12.50          $5,199.44           All fee approved       AU expenses
 October 25, 200       August 31, 200 an                                                                        approved
                       Septmber I, 200 -
                       Seotember 30, 200
 On or about           Oclober I, 20 -            $45,050.00         $1,&25.59           All fees appoved      All expenses
 Novembe 25, 2004      October 30 200                                                                          aovroved
 On or about           November i, 200 -          $31,913.50         $1,509.91           All fees approved     All expenses
 December 25 2004      November 30 200                                                                         aODroved
On or about            December 1,200-            $26,177.50         $1,282.35           All fees approved     All expenss
Januar 25 2005         Deccmber 3 I, 2004                                                                      aporoved
On or about           July I, 200-               $93,06.00          $5,400.76            All fees approved     All expeses
February 4. 2005      SeDtember 30, 2004                                                                       anoroved
On or abut            Januar I, 2005-            523,485.50         $3,J4.93             All fee approved      All expees
Februar 25, 2005      J anua 3 1 2005                                                                          aODToved
On or about March     F ebniar I, 2005 -         522,065.00         $628.01             All fees approved      All expenss
25 2005               Februar 28. 2005                                                                         anNoyed
On or about May       October I, 200 -           S103,141.00        $4,617.&5           All fees approved      All expenss
19.2005               December 3 I. 200
                                                                                                              annroved
On or about May       March I. 2005 -            $39,952.00         $ i 60.88           All fees approved     All expenses
24, 2005              Mach 31. 2005
                                                                                                              aDDroved
On or about May       Januar I. 2005 -           $85.502.50         $1,103.82           All fees approved     All expenses
24, 2005              March 31. 2005
                                                                                                              3Doroved
On or about May       April 1,2005 - April       $33.385.50         $593.50
26, 2005              30, 2005
                                                                                        All fee approved      All expenses
                                                                                                              aDoroved
On or about July 8.   May I, 2005 - May          $15,799.50         $956.63             All fees approved     All expenses
2005                  31.2005
                                                                                                              approved
On or about August    June 1,2005 - June         $3,343.00          $332.1 I            All fecs approved     All expenses
9. 2005               30. 2005
                                                                                                              approved
On or about Augusl    April 1,2005 -June         $52.528.00         $1.882.24           All fees approved     All expenses
9,2005                30, 2005
                                                                                                              3PDrù'.'cd
On or abnul           July i, 2005 - July
SeDtember 19 2005     3 i 2005
                                                 $1,392.00


                                                                2
                                                                    $8.93               All fees approved     All expenss
                                                                                                              aDDroved         -l
CH\ I 007344. i
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 On Or aboul            August 1, 2005-         $698.50             $39.03                 All fees approved     All expens
 October 10, 20(5       August 31. 20(5                                                                          approved
 On or about            Septembe 1.2005 -       $736.50             $5.32                  All fees approved     All expenses
OClOber 26. 20(5        September 30, 2005                                                                       anorovcd
On or abt               July 1,2005-            $2,827.00           $53.28                 All fees approved     All expenss
October 26 20(5         Seotember 30 2005                                                                        approved
On or about             October I, 2005 -       $689.00             $9.34                  All fees approved     All expenses
December 28 2005        October 31, 2005                                                                         approved
On or about             November i, 2005-       $73.50              $6.45                  All fees approved     Al expenses
Januar 13 200           November 30. 2005                                                                        approved
On or about             June 1,2006 - June      $16,40.50           $0.00                  All fees approved     All expenss
October 20 2006         30.2006                                                                                  approved
On or about             July i, 200 - July      $16.122.50          $35.61                 All fees approved     All expenses
October 20, 200         3 I 2006                                                                                 aporoved
On or abut              August I, 2006-         S i 3,317.50        $6.18                  All fee approved      All expnses
October 20 200          AUl1ust 31 200                                                                           approved
On or abut              September i, 200 -      $3,341.00           $4.79                  All fees appoved      All expens
October 20. 2006        September 31. 2006                                                                       aporoved
On or about             October 1, 2006 -       $2,571.00           $4.34                  All fees approved     All expe
October 20, 200         October 31, 200                                                                          aporoved
On or about             November I, 200-        S2862.50            $0.00                  All fccs approved     All expenses
October 20 200          November 30 2006                                                                         approved
On or aboui             December 1,200-         $2,332.50           $0.00                  All fee approved      All expe=s
March 30, 2007          December 31 200                                                                         approved
On or about             J anumy I, 2007 -       $2,651.00           $0.00                  All fees approved    All expenses
March 30 200            Januar 3 t, 200                                                                         approved
On or about             Febru t, 200 -          $11,678.00         $0.00                   All fee approved     All expenses
March 30 2007           Febru 28 2007                                                                           aporoved
On or about             March 1, 2007 -         S17,766.oo         $27.59                  All fees approved    All expenses
Julv J 8 200            March 3 i 200                                                                           approved
On or about             April 1,200 -           $ 10,324.50        S93.62                  All fees approved    All expenss
July i g 2007           April 30 2007                                                                           aoproved
On or aboul             May 1,2001-             $2,159.50          $7.03                  All fees approved     Al exnss
July 18 2007            May 31, 2007                                                                            approved
On or abut              June 1,2007-            S13,997.00         $1.86                  Pending               Pending
October 12.2007         Jun 30, 2007
On or about             Augus 1,2007-           $1,433.00          $0.00                  Pending               Pending
October i 2, 2007       Au~ust 3 i 2007



                                  LATHA & WATKINS LLP PROFESSIONALS

     Name of Attorney         Position with     Number of                             Hourly        Toul          Total
                              the Applicant     Years as an        Department         Biling        Biled      Compensation
                                                 Attornev                              Rate         Hours
    Nicholas 1. DcNovio          Parer               i~                Tax             775.00        20.70          16,042.50
         PB Wheeler             Associate            2                 Tax             455.00          2.0            910.00
           J D Stalls           Assoiate             3                 Tax             380.00          .60            228.00
                                                                            Total for Attorneys       23.3        SJ 7 180.50



            Name of        Position with the              Department                  Hourly        Total          Total
     Legal Assistant          Applicant                                                Billng       Biled      Compenstion
                                                                                        Rate        Hours
    Elizabeth Arld             Parep;a!                   BanDtcv                   235.00             3.0             705.00
                                                                   Total for Legal Asstanls           1.10           S705.OO




                                                               3
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Case 01-01139-AMC              Doc 18843-2              Filed 06/02/08            Page 16 of 28




                              COMPENSATION BY MATTER

            Matter                                                        Total     Total Fet.
                                         Maller
            Number                                                        Houn      Reauested
           042362-~~            Federal Tax Genera Plarin~                16.8         115.~_
                                                   Toll.i ComJ)en~atian   16.8       SI7,885.50




               EXPENSE SUMMARY FOR FEDERA TAX GENERAL PLANING

                                                                                       A.~~I

  -----
   Total
 r,=';''''
                                                                                          $0.00




           WHEREFORE, L& W respectfully request tht, for the period November I, 2007

through November 30, 2007, an interi allowance be made to L&W for compenstion in the

amount of $17,885.50 and payment ofSI4,308.40 (80% of the allowed fees), and for suh other

and fuer relief as this Cour may deem just and proper.



Washington, D.C.                            Respectfully submitted,
Dated: Febru ~ 2008

                                            LATHAM & WATKS LLP




                                            Nicho 1. eNovio, Esq.
                                            Latham & Watk LLP
                                            555 Eleventh Street, N.W., Suite 1000
                                            Washion, D.C. 20004-1304
                                            Telephone (202) 637-2200




                                               4
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Case 01-01139-AMC                             Doc 18843-2                    Filed 06/02/08                  Page 17 of 28




                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELA WAR

In rc:                                                                   ) Chapter 1 i
                                                                         )
W. R. GRACE & CO., et aI., 2                                             ) Case No. 01-01139 (JKF)
                                                                         ) (Jointly Admiiustered)
                                                                         )
                               Debtors.                                  )




              FEE nET AIL FOR LATHAM & WATKINS LLP'S MONTHLY
                    SPECIAL TAX COUNSEL FEE APPLICATION
         FOR THE PERlOD NOVEMBER 1.2007 THROUGH NOVEMBER 30. 2007




, Th debinrs consist ofihe following 62 entiies: W. R. Grace & Co. (Wa Grace Specialty Chemica, Inc.), W. R. Grace &I Co.-COM., A-I Bit
& Tool Co.. lnc.. Alewife Boston Ltd., Alewife Lad Corraio. Amicon, Inc., CB Biomcal, Inc. (Wa Circe Biomedica, Inc.), CeHP, In.,
Coagr, Inc., Coalgrau II, Inc., Creaive Foo 'N Fun Comy, Oaex Purt Rico. In., Del Tac ReslBaiis, Inc., Dewey and Alroy, Ltc
(Wa Dewey an Almy Company), Ecag, Inc., Five Alewife Boston Ltd. G e Limitm Pars I, In. (Wa Grce Coca Liited Par I,
Inc.), G C Mniement. Inc. (Wa Gra Coe Management, Inc.), GEe Managemet Corraiion, GN Holdings, lne., GPC Thomasile
Corp.. Glou new Commuities Company. Inc., Gra A-B Inc., Grace A-B 11 Inc., Grae aiemi Company of Cii Grac Culina
Systms, Inc., Grac Drlling Compy, Grace Energy Coraton. Grace EnvironmenlB, Inc., Gra Europ, Inc., Gr.ce H-G Inc., Grae H-G
II Inc.. Grac Hoel Service Corralio. Gra Intemalional Holdings. lnc. (fla Debo In"'maton Holdings, Inc.). Gra Offore
Company. Grate PAR Corration, Grac Pelroleum Libya lnrad, Gr""c Tll Invesor, Inc., Grac Ventues Corp., Grae
Wasington. Inc.. W. R. Grace Capita Coration, W. R Grace Lad Cororation, Gr8Coal, Inc.. Gracal II, In.. Guanica-Carbe Land
Deelopment eOrpalOI, Hanver Squae Corpratio Homc Internonal, Inc., Koontai Deelopment Company, L B Realty. Inc..
Litigation Mangement. Ine. (fl. GHSC Holding. Inc.. Grace NH. Inc.. Asbestos Manement. Inc.). Monolith Enerpries. Incorpatd,
Monr Sir.. Inc., MRA Holdings Corp. (Wa Nestor-BNA Holdings Cor). MR Intcrrdco. Inc. (Wi Nestor-DNA, Inc.). MR
Stang Systems, Inc. (Wa Britih Nwsing Assoiat. lnc.), Remdium Grou, Inc. (Wi EnvironmenlB Liablity Maagement Inc.. E&C
Liquidatg Corp., Emrson &. Cuming. Inc.), South Oil, Resin & Fibeglas, Inc., Walu Street Corration. Axial Basin Randi Company,
CC Parers (tia Cross Counlr Stang), H.yden-ulch Wcst Coal Company, H-G Coal Compy.




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                                                                                555 Elvenl S~... N.W.. Suite 100
                                                                                Wasingto D.C. 20lJ1304
                                                                                Tel +1.202.637.2200 Fax +1.202.637.2201
                                                                                wN.tw.co

LA THAM&WATK I N SLLP


                                                                                T.. Ödil No: 1ò201 6373

     INVOICE
    November 30, 2007
                                                                                REMITANCE INSTRUCTIONS
                                                                                WIRE TRSI'RS'
                                                                                Bank: Citbank. Deawre
                                                                                One Penn's Way
                                                                                                                   ~
                                                                                                                   Latham & Watkins LLP
                                                                                                                   P.O. Box 724Hl202
     W.R. GRACE & CO.                                                           New Caslle. DE 19720               Philadelphia. PA
    540 BROKE SOUND BLVD. NW                                                    AB: 0311-0209                      1917o-202
                                                                                SWIFT: CinUS33
    BOCA RATON, FL 33487                                                        Accunt Name: Latham & WatJns UP
                                                                                Accunt Number: 3911-7003



                                                                                ~ Iden 'f clú or... -... -i th i- ri:
                                                                                Invoice No. 70317243
                                                                                File No. 042362-0000

                                                                                For qoe t41t
                                                                                S"" L_ ai (202) 3S50




    For profesional services rendered though November 30,2007
    re: FEDERA TAX GENERA PLANIG
                        Attrneyl
    Date                Parlegal           Hours        Descrition
    11/01/07              PBW               1.0         ADDITONAL REEARCH; TELECONFERENCE AND
                                                        CORRSPONDENCE WITH N. DENOVIO ON SAME
    11/05/07               NJD             2.70         REVIEW OF SECfION 1248 AN SEClON 901
                                                        iSSUE RASED BY ALAN GIBBONS; REVIEW
                                                        PRlV A TE RULINGS REGARING INTERNATIONAL
                                                        RETRUCTG
    11/06/07              NJD              1.00         REVIEW TECHNCA iSSUES; CONFERECE CALL
                                                        WITH ALAN GffBONS
    11106/07               JOS              .60         RESEARCH TRATMENT OF DEFICITS IN LOWER
                                                        TIER ENTITIES FOR TH SEClON 1248 AMOUN
    1110607               PBW               .30         TELECONFERENCE WITH N. DENOV10
                                                        REGARING ADDITIONAL REEARCH REQUlRED
    11/1/07               PBW               .40         TAX ANALYSIS; CORRESPONDENCE WITH N.
                                                        DENOVIO ON SAM
    11/14/07              NJD               .20         TELEPHONE CONFERECE WITH ALAN GIBBONS
                                                        AND CAROL FINKE
    1 illSI07             NJD              3.20         REVIEW MUTIPLE DOUMENTS CONCERNING
                                                        GERMN AN JAPANESE RESTRUcnRIG;
                                                        SECTION 304 ISSUE; DEBTfEQUITY ISSUE;
                                                        CONFERENCE CALLS WITH          ALAN GIBBONS AND
                                                        CAROL FIN REGARDING SAME




                              BAlACE DUE   AND PAYABLE TO REMITTANCE ADDRESS UPON RECEIPT
                  FOR PROPER CREDIT, PlEE RETURN COPY OF IlOICE IMTH YOUR CHECK IDENIFIED BY. 70317243
    DCJ0S6980.2
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                      Attorney!
 Q!!tlê               l.!~l               Hours           Description
  11/19/07               NJD              2.30            CONFEREcE CALL WITH ALAN GIBBONS
                                                          REGARDING COMlvIENTS TO SHARE PURCHASE
                                                          AGREEMENT; REVIEW AND CO~IENT ON SAME;
                                                          LOAN AGREEMENT TECHNCAL ISSUE FOR
                                                          PURSES OF U.SJGERNY DEBT/EQUITY
                                                          ANALYSIS
 IVI9/07               . ECA              2.00            ATION.TO PREPARATION OF
                                                                                                 QUARTERL Y
                                                          FEE APPLICATION; CORRSPOND wirn N.
                                                          DENOVIO REGARING SAME.
 I 1120/u7               NJD              lAD             CONFERCE CALL wirn WORKG TEAM
                                                          REGARDING GERMN RESTRUClG; REVIEW
                                                          OF DRAFT DOUMTS REGARDING TECHICAL
                                                          ISSUES FOR U.S. FEDERA TAX PURPOSES,
                                                          SPECmCALL Y CODE SECTON 304 TRATMT
 II /20/07               ECA              1.00           A TIION TO FILING AN SERVlCE OF
                                                         QUARTERLY FEE APPLICATION.
 1 i 126/07             NJD                AD            REVIEW OF UPDATED DOUMS
 lI27/07                NJD              3.80            REVIEW OF REVISED DOCUMETS; REVIEW
                                                         TIMING ISSUE WITH REGARDING CLOSING ON
                                                         NOVEMBER 30 OR DECEMBER I; CODE SECTON
                                                         304 ISSUE; CONFERECE CALL WITH WORKG
                                                         GROUP REGARING GERMNY; REVIEW
                                                         MA TEALS CONCERNG JAPANEE DrvlDEND:
                                                         U.S. DEBT/EQUI ISSUES; CONFRECE CALL
                                                         wirn ALAN GIBBONS AN CAROL FINKE
 I 1/28/07              NJD              2.30            TELEPHONE CONFERECES WITH GRACE TAX
                                                         EXCUTVE, GERM COUNSEL AN GRACE
                                                         GERANY EXECUTIVS REGARING CLOSING
                                                         ISSUES, DOUMS, ETC.; CONFERECE CALLS
                                                         WI GRACE TAX EXCUTIS REGARING
                                                         DOLLAR TO EORO FORWAR CONTClS AND
                                                         SPECIFICALLY POTE                 APPLICATION OF
                                                        NUOUS INTERNAL REVEN CODE
                                                        SECTIONS, INCLUDING 988, 1092, 1256 AND 446
I 1/2/07                NJD              2.80           REVIEW STATUS OF GRACE JAPAN DrvlDEN
                                                        PAYMET; SEVERA TELEPHONE CONFERNCES
                                                        WIll ALAN GIBBONS REGARING TECHNICAL
                                                        ISSUES WITH REGARD TO INGRATION OF EURO
                                                        FORWARD CONTCl AND INTECOMPANY
                                                        NOTES; REVIEW MUTILE ISSUES, AND
                                                        REGULATIONS AND OTHR AUTORITES UNER
                                                        SEClIONS 109, 988,44 AND 1221 REGARING
                                                        SAM
I 1/30/07              NJD                .60           REVIEW OF SECTON 44, SECTON 1092            ISSUE


Attorney Hours;

N J DENOVIO            (PARTNER SR.)             20.70 hrs €y          $775.00   ii.            $16,042.50
J D STALLS             (ASOCIATE)                  .60 hr ~            $380.00   /hr.
                                                                                                  $ 22&.00
P B WHEELER            (ASIATE)                   2.00 hrs €y          i4SS.00   ii.              $9 i 0.00




                            IlNCE DUE   AND PAYABLE TO REMITTANCE ADDRESS UPON RECEIPT.
              FOR PROPER CREDIT. PLEASE RETURN COpy  OF INOICE IMTl YOUR CHECK IDENTIFIED BY # 70Jin4J

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Case 01-01139-AMC                           Doc 18843-2               Filed 06/02/08               Page 20 of 28




  Paralegal Hours:

  E C AROLD


  Total Services
                            (PAREGAL)                .J
                                                     26.3 hr.
                                                                         S23S.00 Ilr.
                                                                                                     $705.00

                                                                                                               $17,885.50


  Total current charges                                                                                        $17Jlll550


            BALANCE DUE                                                                                        S17.!I8S 50




                             BANCE DUE AND PAYABLE TO REMITTANCE ADDRESS UPON RECEIPT.
                 FOR PROPER CREDIT. PLEASE RETURN COPY OF INVOICE 'M YOUR CHECK IDENTIFIED BY # 70317243


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DC I 0 56980.2
    Case 01-01139-AMC                         Doc 18843-2               Filed 06/02/08              Page 21 of 28




                             IN THE UNITED STATES BANUPTCY COURT

                                      FOR THE DISTRICT OF DELA WAR

In re:                                                      )        Chapter 11
                                                            )
W. R. GRACE & CO., ~ a1., i                                 )        Case No. 01-1139 (JKF)
                                                            )        Jointly Administered
                              Debtors.                      )
                                                                            Objection Deadline: March i 7,2008 at 4:00 p.m.
                                                                                       Hearing Date: TBD only if necessary


          NO ORDER REQUIRED CERTIFICATION OF NO OBJECTION
         REGARDING APPLICATION OF LATHAM & WATKINS LLP FOR
   COMPENSATION FOR SERVICES AND REIMBURSEMENT OF EXPENSES AS
    SPECIAL TAX COUNSEL TO W. R. GRACE & CO., ET AL., FOR THE PERIOD
  FROM DECEMBER 1, 2007, THROUGH DECEMBER 31, 2007 (DOCKET NO. 18117)

                    The undersigned hereby certifies that, as of             the date hereof, he has received no

answer, objection or other responsive pleading to the Application of Latham & Watkins LLP

("L& WH) for Compensation for Services and Reimbursement of Expenses as Special Tax

Counsel to W R. Grace & Co., et ai., for the Period from December 1, 2007 through December

31, 2007, (the "Application"). The undersigned furter certifies that he has caused the Court's

docket in this case to be reviewed and no answer, objection or other responsive pleading to the

Application appears thereon. Pursuant to the Application, objections to the Application were to

be filed and served no later than March 17,2008.
i The Debtors consist ofthe following 62 entities: W. R. Grace & Co. (l7a Grace Specialty Chemicals, Inc.), W. R. Grace &

Co.-Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Anúcon, Inc., CB Biomedical, Inc. (f/a
Circe Biomedical, Inc.), CCHP, Inc., Coal   grace, Inc., Coalgrace Il, Inc., Creative rood 'N Fun Company, Darex Puerto Rico.
Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (l7a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston
Ltd., G C Linúted Parters I, Inc. (l7a Grace Cocoa Linúted Parers 1, Inc.), G C Management, Inc. (f/a Grace Cocoa
Management, Inc.), GEC Management Corporation, GN Holdings, Inc., OPC Thomasville Corp., Gloucester New Communities
Company, 1nc, Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinar Systems, Inc., Grace
Drilling Company, Grace Energy Corporation, Grace Environmenial, Inc_, Grace Europe, Inc., Grace H-G Inc., Grace H-G II
Inc., Grace Hotel Services Corpration, Grace International Holdings, Inc. (fla Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarn Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal n, Inc.,
Guanica-Caribe Land Development Corpration, Hanover Square Corpration, Hornco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (l7a GHSC Holding, Inc., Grace NH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (flk/a Nestor-BNA Holdings
Corporation), MRA lntermedco, Inc. (l7a Nestor-BNA, Inc.), MRA Staffng Systems, Inc. (fla British Nursing Association,
Inc.), Rcmedium Group, Inc. (flk/a Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming,
Inc.), Southern Oil. Resin & Fiberglass, rnc.. Water Street Corporation, Axial Basin Rach Company, CC Partners (l7a Cross
Country Staffng), Hayden-Gulch Wesi Coal Company, H-G Coal Company.


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                       Pursuant to the Administrative Order Under 11 U.S.c. §§ 1 05(a) and 331


Establishing Procedures for Interim Compensation and Reimbursement of                    Expenses for

Professionals and Offcial Committee Members (the "Order") dated May 3, 2001, the Debtors

are authorized to pay L&W $1,488.00 which represents 80% of                    the fees ($1,860.00), and $0.00

which represents 100% of           the expenses requested in the Application for the period December 1,

2007 through December 31,2007, upon the filing ofthis Certification and without the need for

entry of a Court order approving the Application.



Dated: March 18,2008                                KILAN & ELLIS LLP
                                                    David M. Bernick P.c.
                                                    Janet S. Baer
                                                    200 East Randolph Drive
                                                    Chicago, Ilinois 60601
                                                    Telephone: (312) 861-2000
                                                    Facsimile: (312) 861-2200

                                                    and




                                                                            /-
                                                    P ACHUSKI STANG ZIEHL & JONES LLP


                                                                   ~N' tJ -
                                                    Laura Davis Jones (Bar No. 2436)
                                                    James E. 0' Neill (Bar No. 4042)
                                                    Timothy P. Cairns (Bar No. 4228)
                                                    919 North Market Street, 1 ih Floor
                                                    P.O. Box 8705
                                                    Wilmington, Delaware 19899-8705 (Courier 19801)
                                                    Telephone: (302) 652-4100
                                                    Facsirnile: (302) 652-4400

                                                    Co-Counsel to Debtors and Debtors-in-Possession




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Case 01-01139-AMC                            Doc 18843-2                   Filed 06/02/08                   Page 23 of 28




                              IN THE UNTED STATES BANKRUPCY COURT
                                   FOR THE DISTRICT OF DELAWAR

In re:                                                                      Chapter 11


W. R. GRACE & CO., et aI., i                                                Case No. 01-01139 (JK)
                                                                            (Jointly Admstered)

                               Debtors.                                     Objection Deadline: MOJLi I l- , 2008,
                                                                           at ~:OO p.m. (prevailing easern time)

                SUMY APPLICATION OF LATHAM & WATKINS LLP FOR
     COMPENSATION FOR SERVICES AN REIMBURSEMENT OF EXPENSES AS
        SPECIAL TAX COUNSEL TO W. R. GRACE & CO., ET AL., FOR THE
        PERIOD FROM DECEMBER 1, 2007, THROUGH DECEMBER 31, 2007

Name of Applicat:                                                         Latham & Watkis LLP ("L&W")

Authorized to Provide Professional Services to:                           W. R. Grace & Co., et al.. Debtors and
                                                                          Debtors-in Possession


Date of    Retention:                                                     Retention Order entered June 16.2004,
                                                                          effective nUDC pro tunc from April 1, 2001,
                                                                          Order Authoríinl! Expansion entered
                                                                          March 27. 2006.

Period for which compensation and reimbursement                           December 1. 2007 throue:h December 31. 2007
is sought:

Amount of Compensation sought as actu,                                    $1.860.00
reasonable and necessa:

Amount of Expense Reimbursement sought                                    ($0.00)
as actual, reasonable and necessa:

This is a(n) lmonthly, _ interim, _final application.


i The dcl.. eons¡'i oftb following 62 cntiti: W. R. Grac & Co. (lla Grac Speialty Chemicals, lnc.), W. R. Grace & Co.-Conn., A-J Bit
& Tool Co., Inc., Alcwire BoslD Ltd. Alewife Lad Coration, Amicon lne., CB Biomedical, In. (fla Cire Biomdic. Inc.), CCHP, Inc..
Coalgrce, rnc., Coalgrac II. In., Creatve Foo 'N Fun eompany, l)ex Puerto Rico, lnc, Del Taco Resturants, Inc., Deey and Aly, LLC
(tia Dewey and Almy Compy). Ecrg, Inc., Five Alewife _ Ll.., G C Limited Parrs J. Inc. (lla Gr."" Coca Limited Parrs I.
Inc.), G C Mangemn~ Inc. (fJa Groce Cocoa Mamen~ Inc.). GEC Manemet Coion, ON Holdings Inc, GPC Thmaville
Cor.. G1ouClsler new Counities Company. Inc.. Grace A-B Inc., Gtace A-B Il (nc.. Gro"" Chemical Company of Cuba Grac eulill
Systems. (nc.. Grae Dring Company. Grace Energy Oiation, Grace Environmenta. Inc.. Grace Euop, Inc., Grace H-G Inc., Gra H-G
ii lne.. Grac Hotel Services Corpation. Gl1ce InternaJ Holdin&" Inc. (tia Dearborn Internonal Holdings. Inc.), Grac Offshore
Company, Grac PAR Corraton. Grac Petroleum Libya Incoted. Grace Tarn Investor. Inc.. Gra Vennics Cor.. Grace
Washigtn, Inc., W. R. Gra"" Capita Corraon, W. R. Grac Land Corporatio. Gracoal. Inc.. Gracoal II In., Guica-Carbe Uid
Development Corration, Hanver Squ",e Corption. Homc Internional, Inc., Koontenai Developen Coß"an, L B Reaty. Inc..
Litigation Maieme~ lnc. (fJ. GHSC Holding. Inc., Grace NH. Inc.. Asbeos Management, Inc.), Monoith Enterrise, Incorpated.
Monroe Stree Inc., MR Holdin&, Corp. (fJa Nesor-BNA Holdings Corration). MRA Intenoco. Inc. (ti. Nestor-BNA. Inc.). MR
Stang Systems, Inc. (fIa British Nursing Asocation. Inc.). Remdium Group, lnc. (tia Environmenta Liabilty Managemnt, Inc., FAC
Liquid:ng Co., Emel1OD & Cuming, Inc.), Souther Oil, Resin & Fiberglas, Inc.. Water Street Coraton, Axial Bain Ran Company.
CC Parrs (fIa Cross Countr Stafng). Hayden-Gulci West Co Company, H-G Coal Company.


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            The total time expended for the preparation of ths application is approximately 1 hours,

and the corresponding estimated compensation that wil be requested in a future application is

approximately $400.00.



           This is the third monthy application for interim compensation of services for the


October-December 2007 quaer that Latham & Watkns LLP has fied with the Banptcy

Cour in the Chapter i i Caes. The following applications have been fied previously in the

Chapter 1 i Cas:

                                                  Requested            Req u ested                            Approved
       D~teFiled        Period Covered                                                 Approved Fees
                                                    Fe...              Eipense.                               Expenses
 On or abut          Deceber      2003       - $211,719.00        S6,927.50          All fees approved    S6,897.50
Au"ust9 200          June 200                                                                             approved
On or aboul August   July 1, 200 - July         SI1,334.50        $20 \.2            All fees approved   All expenses
~?004                31, 2004                                                                            approved
On or about          Augusl J, 2004 -           $81.729.50        $5,199.44          All fees approved   All expenses
Octobe 25, 2004      August 31, 2004 an                                                                  approved
                     Setember I, 2004 -
                     September 30, 200
On or about          October I, 200-            $45,050.00        $1,825.59          All fee approved    All expens
November 25, 200     October 30, 200                                                                     approved
On or about          November i, 200 -          $31.913.50        SI.50.91           All fee aproved     All expens
December 25, 2004    NOvember 30, 200                                                                    approved
On or about          Dec J, 200-                $26,177.50        $1,2&235           All fees approved   A II expenses
Januar 25, 2005      Deber 3 I, 200                                                                      approved
On or about          July 1,200-                $93.064.00        S5,400.76          All fees approved   All expens
Februar 4, 2005      September 30. 200                                                                   approved
On or about          Januar I, 2005 -           $23,485.50        $3,14.93           All fees approved   A II expenses
February 25 2005     J nnun 3 I 2005                                                                     approved
On or about Marh     Febru I, 2005 -            $22,065.00        $628.01            Al fees approved    All expenses
25, 2005             Febni 28 2005                                                                       aoproved
On or about May      October i, 200-            S103.141.oo       S4,617.85          All fee approved    All expenSs
19,2005              December 3 1, 2004                                                                  approved
On or about May      March I, 2005-             S39,952.00        $160.88            All fees approved   All expenses
24, 2005             March 31, 2005                                                                      aproved
On or about May      Januar 1,2005-            $85.502.50         S i, 103.82        All fee approved    All expenses
24, 2005             March 31, 2005                                                                      aDProved
On or about May      April I, 2005 - April     $33.385.50         $593.50            All fee approved    All expenses
26, 2005             30, 2005
                                                                                                         approved
On or abut July 8,   May i, 200 - May          SI5.799.50         $956.63            All fee approved    All expenses
2005                 3 i, 2005                                                                           aDiioved
On or about August   June 1,2005 - Jun         $3,343.00          $332. Jl           All fee approved    AU expenses
9,2005               30, 2005                                                                            aoiioved
On or about August   April 1,2005 -June        S52,528.00         $ 1,882.24         All fees approved   All expenses
9,2005               30,2005                                                                             approved
On or about          July I, 2005 - July       $1,392.00          $8.93              All fees apprved    All expeDses
September 19, 2005   3 J 2005                                                                            approved
                                                              2
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Case 01-01139-AMC                           Doc 18843-2                          Filed 06/02/08                       Page 25 of 28




On or about           August i, 2005-          $698.50                   $39.03                 All fees approved         All expenses
October 10 2005       Au.ust 31 2005                                                                                      aDDroved
On or about           September 1, 2005 -      $736.50                   $5.32                  All fees approved         Al i expense3
October 26 2005       Sentem ber 30. 2005                                                                                 annroved
On or about           July 1,2005-             $2,827.00                 $53.28                 All fet: approved         All expenss
October 26, 2005
On or abuut
                      Sentember 30. 2005
                      Octobe 1. 2005 -         S689.00                   $9.34
                                                                                                                          aoDroved
                                                                                                                          All expenses
                                                                                                                                          --
                                                                                                All fees approved
December 28 2005      October 31 2005                                                                                     aoDroved
On or about           November I. 2005 -       S73.50                   S6.45                   All fees approved         All expenses
Januar 13 200        November 30 2005                                                                                     anoroved
On or about          June I, 2006 - June       $16.407.50               SO.OO                   All fees approved         All expenses
October 20 2006      30, 2006                                                                                             aooroved
On or about          July i, 200 - July        SI6,12250                S35.61                  All fees approved         All expnss
October 20. 2006      3 J, 2006                                                                                           anDroved
On or aboul          August 1.200-             SI3.317,50               S6.18                   All fees approved         All expenses
October 20 2006      Au.ust 31. 200                                                                                       aDDroved
On or about          September t, 2006 -       $3,347.00                S4 79                   All fees approved         All expenses
October 20, 2006     Seolember 3 t 2006                                                                                   aDDroved
On or aboui          October 1, 200-           S2,571.00                $4.34                   All fecs approved         All cxpnss
Ociober 20 200       Octobe 31, 200                                                                                       aDoroved
On or about          November i, 200 -         $2.862.50                SO. 00                  All fees approved        All expnses
October 20 200       November 30, 200                                                                                    aDoroved
On or about          Deember I, 2006-          $2,332.50                SO.OO
                                                                                                All fecs approved        All expens
March 30, 2007       Deember 31 200                                                                                      aPDroved
On or about          Januar 1, 2007-           S2.65 i-OO               $0.00                   All fee approved         All expenss
March 30 2007        Janua 3 t, 200                                                                                      aDnroved
On or abut           Febru i, 200 -            $1 J,678.00              $0.00                   All fees 3pJ'oved        All expes
Murch 30 2007        Februarv 28 2007                                                                                    aDD!Cved
On or about          March I, 2007 -           S17,766.00               S27.59                  All fee aproved          All expenss
July 18 2007         March 31. 2007                                                                                      aDDroved
On or about          April   I, 2007-          $ I 0,324.50             S93.62                 All fees apoved           All expenses
July 18,2007         Anril 30, 2007                                                                                      aDDrOyed
On or about          May I, 2007 -             $2, J 59,50              $7,03                  All fees apprved          All expens
July 18 2007         Mav 31 2007                                                                                         anoroyed
On or about          Jun I. 2007-              SI3.997.00               $186                   Pending                   Pending
October 12. 2007     June 30, 2007
On or aboul          August I, 2007-           $1,433.00                SO.OO                  Pending                   Pending
October 12. 2007     August 3 i, 2007


                                  LATHAM & WATKINS LLP PROFESSIONALS

    Name of Attorney         Position with     Number of                                    Hourly        Total           Total
                             the Applicant     Years as:in              Department          BillDg        Billed       CompensatioD
                                                Attorney                                     Rate        Hours
    Nicholas 1. DeNovÎo           Parer              18                     Tax             775.00             2.40          I 860.0
                                                                                 Total for Altornev3           2.40         SI,860.ll


                                        COMPENSATION BY MATIER

          Matter                                                                                       Total           Total Fees
                                                           Matter
          Number                                                                                       Hours           ReQuesed
        042362-0                            Federal Tax General Planin.                                2.40                1.860.00
                                                                        Total Comoens"tioD             2.40              SI.80.00




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Case 01-01139-AMC               Doc 18843-2          Filed 06/02/08         Page 26 of 28




                EXPENSE SUMMAY FOR FEDERA TAX GENERA PLANNING

                                                                                    Am....


   T..i.1                                                                               $0.00
 I "~"",;."                                                                                     1




            WHEREFORE, L&W respectfully requests that, for the period November I, 2007

though November 30, 2007, an interim allowance be made 10 L&W for compensation in lhe

amount of $1,860.00 and payment of Sl, 488.00 (80% of the allowed fees), and for such other

and further relief as ths Cour may deem just and proper.


Washigton, D.C.                             Respectfily subrrtted,
Dated: Febru1.J. 2008

                                           LA TRM & W ATKS LLP




                                           N' olas J DeNovio, Esq.
                                           Latham & Watkns LLP
                                           555 Eleventh Street, N. W., Suite 1000
                                           Washigton, D.C. 20004-1304
                                           Telephone (202) 637-2200




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Case 01-01139-AMC                           Doc 18843-2                    Filed 06/02/08                Page 27 of 28




                              TN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELA WAR

 In rc:                                                                ) Chapter 11
                                                                       )
 W R. GRACE & CO., et al., 2                                           ) Case No. 01 -01 i 39 (JKF)
                                                                       ) (Jointly Administered)
                                                                       )
                               Debtors.                                )




                   FEE DETAIL FOR LATHA & WATKINS LLP'S MONTHLY
                    SPECIA TAX COUNSEL FEE APPLICATION
          FOR THE PERIOD DECEMBER 1, 2007 THOUGH DECEMBER 31, 2007




'TI debtors coi,t of Ihe following 62 eniits: W. R. Grac & Co. (fJ1 Gra", Speialty Chemicas, In), W. R. Grac &: Co.-Con.. A-I Bit
& Tool eo.,Inc., Alewife Boston Ud., Alewife Lan eoialion, Amicon Inc.. CB Biomodical.lnc. (fJa Cire Bioic, !n.), CCH. Inc.,
Coalgr.ce, Inc., Coagr II, Inc.. Creive Foo 'N Fun Company, Darex Puena Rico, Inc.. Del Tac Restaurant',
                                                                                                  Inc., Dewey and Almy, LLe
(fla Dewey an Alroy Company), Ecg, Inc.. Five Alewife Boston Ltd., G C LimÌled Parrs I. Inc. (Wa Gnu Coca Limted Parrs I.
IllC.l, G C Maemen~ In. (Wa Grace Cowa Manmen~ Inc.), GEC Management Coqraion, GN Holdings, Inc. OPe Thmasville
Corp., Glouceter new Communities Company. Inc.. Grace A-B lnc., Grace A.a II rnc.. Gra"" Chemica Company of Cuba Gra Culinar
Systems. Inc., Grac Drilling Company, Grace Energy Coratio, Grace Environtal, rnc.. Grace Euroe, Inc., Grll Il-G Inc., Grac H-G
ii Inc., Gr"" Hotel Services Coiraion, Grace Interational Holdigs, In. (fJa Deiiborn Internatioal Holdings, Inc.), Grace Ofshore
Compay. GrIe PAR Cororation, Grace Pelrolewn Libya lllated. Grace Tarn Investor, lnc., Grac Venlles Corp., Grac
Washinon, Inc.. W. R. Grate Capita Cmdtion, W. R. Grace Lad Corpration, Grac, rnc., Graoal II. Inc., GlWica-Cbe Lad
Development Coalion, Hanover Squar Coron Ho Intrnational. Inc.. Kootenai Development Company. L B Reaty. Inc..
Litigaton Maigemcn~ Inc. (fla GHSC Holding, Inc.. Gmce NH, Inc., Asbetos Mancme IDC.), Molith ~riscs. licor.tcd.
Monroe Stre~ In,.. MR Holdiogs Corp. (Wa Nestor-BNA Holdings Coqrotioo). MR Intedco. Inc. (W. Nestor-BNA. Inc.). MR
SlAng Sysums. Inc. (li'ka British Nursing Aliociat Inc.), Remdium GrouP. Inc. (fi. Envirort. Liability Managcmn~ Inc., E&C
Liquidating Corp.. Emers & Cumin&. Inc.), South Oil, Resin '" Fiberglas. Inc., Waler Strect Corpn. Axial Basin R. Company.
CC Parrs (Wa Cross Countr Stang) Haydenulch Wes Coal Copany, H-G Coal Company.




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    Case 01-01139-AMC                          Doc 18843-2               Filed 06/02/08                Page 28 of 28




                                                                                56 ËIotlO SIr""t. N.W. Sule 1000
                                                                                Wa5hlngIM. D.C. 20.130
                                                                                Tel: +1.202.837.2200 Fax; +1.202.637.2201
                                                                                WH.lw.tt

LA THAM&WATKI NSlLP

                                                                                Tax kl No: 9&2018373




                                                                                                                   ~
    INVOICE
                                                                                REMITTANCE INSTRUCTIONS
    December 31. 2007
                                                                                WIE TRNSfES'
                                                                                Ban: Citibank, Delaware            Latham & Watkins LLP
                                                                                One Penn's Way                     P.O. Box 7247-8202
    W.R. GRACE & CO.                                                            New Castl, DE 19720                Philadelphia, PA
    5400 BROKE SOUN BLVD. NW                                                    ABA 0311-0209                      19170-202
                                                                                SWFT: emUS3
    BOCA RATON. FL 33487                                                        Act Name; Latham & Watlins LLP
                                                                                A=t Number. 3911-7003


                                                                                _ OJon yo C/ CI wl inor wl m. ron ""
                                                                                Invoice No. 80300531
                                                                                File No. 042362-0000

                                                                                fOfqUNca
                                                                                Sh i... (202) 3550




    For professional services rendered though Decem ber 3 1, 2007
    re: FEDERA TAX GENERA PLAG

    ~
    12106/07
                        Attorney/
                        Paraleia1
                             NJD
                                              H2
                                               .50
                                                           Description
                                                           CALL WITH ALAN GIBBONS
    12111107                 NJD               .30         REVIEW MA TERlS REGARDING JAPANESE
                                                           DIVIDEND; TAX ACCOUNTING CONSEQUENCES
    12/(2/07                 NJD              1.40         REVIEW TAX ACCOUNING ISSUES REGARDING
                                                          GERM RESTRUCfING AND JAPANESE
                                                           DIVIDEND PER ALLEN GIBBONS
    12/27/07                 NJD              .20         RETRUCTRIG ISSUES

    Attorney Hours:

    N J DENOVIO              (P ARINR. SR )          2.40 hr! i§         $775.00 /h.                $1,860.00


    Total Services                                   2.40 hr                                                         $1,860.00


    T oial current charges                                                                                           SUl60.0fl

               BALANCE DUE                                                                                           S1.S60.00




                                BALANCE DUE AND PAYABLE TO REMmANCE ADDRESS UPON RECEIPT.
                  FOR PROPER CREDIT. PLEASE Ri=RN COPY OF INVOICE IM YOUR CHECK IDENTIFIED BY# 803()SJ1
    ix~io663072
